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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF CONNECTICUT


HYBRID ATHLETICS, LLC,

          Plaintiff,                       Civil Action No. 3:17-CV-01767-VAB

           vs.

HYLETE LLC,

          Defendant.



  PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S
  MOTION TO DISMISS HYBRID’S COMPLAINT OR, IN THE ALTERNATIVE,
                    MOTION TO CHANGE VENUE
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            Plaintiff Hybrid Athletics, LLC (“Hybrid”), submits this Memorandum in Opposition to

Defendant Hylete LLC’s (“Hylete”) Motion to Dismiss or, In the Alternative, Motion to Change

Venue (“Hylete’s Motion”). Dkt. 19. As set forth below, Hybrid respectfully requests that

Hylete’s Motion be denied.

       I.      INTRODUCTION

            The motion to dismiss filed by Hylete should be denied. As to each of the challenged

claims, Hylete’s arguments are wrong on the law, premature in view of the requirement that all

factual allegations be construed in favor of Hybrid on a motion to dismiss, or both. Hylete’s

motion to transfer should also be denied.

            Hybrid has been litigating against Hylete before the Trademark Trial and Appeal Board

(“TTAB”) since October 2013. Hybrid brought the present action to obtain an injunction against

Hylete’s continued willful infringement of Hybrid’s trademark rights and to recover the

monetary relief Hybrid deserves. Hylete is a willful infringer that has been on notice of Hybrid’s

rights in its HYBRID ATHLETICS and                      marks (the “Hybrid Marks”) since at least 2010.

See Declaration of Michael J. Kosma, Ex. 1 p. 22.1 Hybrid has diligently enforced its rights in

the Hybrid Marks while Hylete has willfully continued to infringe those rights. Dkt. 1 ¶¶ 70, 95-

96; Ex. 1 p. 49; Ex. 14.

            As a willful and intentional infringer, Hylete’s attempt to invoke the equitable defense of

laches to bar Hybrid’s claims must fail. Hylete’s unclean hands prevent it from using an

equitable defense such as laches. Even if Hylete’s laches defense were not barred, laches is a

highly fact intensive inquiry that is rarely appropriate for decision on the pleadings. Hylete has




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    Exhibits 1-19 referenced herein are attached to the Declaration of Michael J. Kosma.

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not established that the undisputed facts support a finding of prejudice or undue delay. In

particular, Hybrid has never wavered in its objection to Hylete’s use of the Hylete Marks.

          Furthermore, due to Hylete’s bad faith before the TTAB, which resulted in sanctions

against Hylete, Hybrid did not know the extent of Hylete’s use of the marks until December 31,

2014, which is within the 3 year statute of limitations. Exs. 4; 5; 18. In evaluating the Complaint

under Rule 12(b)(6), this Court must accept as true the factual allegations made by Hybrid, draw

all reasonable inferences in Hybrid’s favor, and construe the Complaint liberally. Gregory v.

Daly, 243 F.3d 687, 691 (2d Cir. 2001).

          Finally, although highly fact intensive, even assuming Hylete is not a willful infringer

laches is inappropriate in the present case because Hybrid has been diligent in bringing its claims

against Hylete. Hybrid filed its claims well within the applicable statute of limitations based on

its knowledge of Hylete’s actions. Yet, even if the Court finds that Hybrid brought this action

after the statute of limitations ended, the facts show that this was only due to Hylete’s bad faith

before the TTAB, which severely delayed the proceedings. Thus, Hybrid is entitled to the

damages and equitable injunctive relief. Therefore, this case should move forward on the merits

and to trial.

          Additionally, Hylete provides no legitimate reasons why the case should be moved to the

Southern District of California. In fact, the weighted factors favor Hybrid to stay in the District

of Connecticut.

          For these reasons, Hylete’s motion should be denied.

    II.      BACKGROUND

          In 2010, Robert Orlando, owner and manager of Hybrid and famous CrossFit and

Strongman competitor, worked closely with Matt Paulson and other employees at a clothing

company called JACO. Dkt. 1 ¶¶ 38-39; Ex. 1 p. 22. JACO sponsored Mr. Orlando and the
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Hybrid brand, and produced co-branded shorts with Hybrid. Ex. 1 pp. 22-23. For two years,

these were JACO’s top selling athletic short, with Hybrid selling the shorts so quickly that JACO

could not keep up with production. Ex. 1 p. 23.

       Following the sale of JACO in 2012, Mr. Paulson and JACO’s former owner, Ron

Wilson, started a new athletic clothing company aimed at CrossFit consumers. Id. Knowing the

impact and recognition the Hybrid name would have on consumers, Mr. Paulson immediately

pursued Mr. Orlando and the Hybrid brand for a sponsorship deal. Id. However, after learning

about the new company, Mr. Orlando and Hybrid were greatly concerned by the name,

HYLETE, and the company logo,           , because of their similarities to the Hybrid Marks. Dkt. 1,

Ex. D; Ex. 1 pp. 23-24. Mr. Orlando immediately objected to the use of the Hylete Marks and

declined to have any relationship with the company. Id.

       At this time, Hylete was still forming, and was not selling any goods. Id. It appeared to

Hybrid that Hylete was still only trying to find sponsors.

       Yet Hylete, and its co-founders, knew that by using the Hylete Marks, they would ride off

the back and reputation of Hybrid and the daily toil and grind that Hybrid and Mr. Orlando

exerted each day. Hylete comprised people who were highly familiar with the well-known

Hybrid Marks, who Hybrid had trusted, who individually stored the Hybrid Marks on their work

computers, and dealt with and promoted Hybrid on a regular basis for over two years. Dkt. 1 ¶¶

39, 44; Ex. 1 p. 23. Hybrid did not have investors pour millions of dollars into funding the

company and its marketing (as Hylete did). Hybrid was formed from the hard work and literal

sweat of Mr. Orlando and his reputation as a fierce competitor in the CrossFit and Strongman

areas of fitness. Ex. 1 pp. 3-4. It was, and is, through Mr. Orlando’s daily, non-stop dedication to

the promotion of the Hybrid Marks, posting his workouts on YouTube since around 2008,


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training for competitions, winning competitions, running his gym, working as a columnist for

Muscle & Fitness Magazine (promoting the Hybrid brand through the magazine), being labeled

as the “King of CrossFit” by Muscle & Fitness Magazine, travelling all over the world to host

CrossFit and Strongman training sessions, and designing, manufacturing and selling clothing and

specialized workout equipment all bearing the Hybrid Marks (of which the Hybrid atlas stones

are found in thousands of CrossFit gyms across the United States), among numerous other self-

promotional activities, that formed Hybrid’s legendary reputation. Ex. 1 pp. 12, 14, 16-19.

Hybrid had already done the hard part, now Hylete was going to cash in on the existing goodwill

and reputation.

       Hylete did not have any significant sales until well beyond 2013. Ex. 17. Those sales

were directed to the exact same consumers and at the same venues and events as Hybrid and as

such, Hybrid began becoming aware of actual confusion in mid-2013, with some actual

confusion eventually corroborated by Hylete during the TTAB proceeding. Ex. 1 pp. 25-26.

Additionally, Hybrid informed Hylete of this confusion by sending it emails and consumer

comments expressing confusion. Dkt. 1, Ex. D.

       Despite not knowing how widespread Hylete was, upon its early knowledge of the

confusion, Hybrid brought an opposition before the United States Trademark Trial and Appeal

Board against Hylete’s pending registration in October 2013. Dkt. 1 ¶ 64. This opposition

resulted in a full trial before the Trademark Trial and Appeal Board in October 2016. Ex. 1 p.1.

Despite Hylete’s refusal to participate in discovery, which repeatedly delayed the case and

required successful motions to compel and for sanctions against Hylete (to which the TTAB told

Hylete it should read the discovery rules), the opposition was overwhelmingly decided in

Hybrid’s favor in the TTAB’s finding that there was a likelihood of confusion between



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Hybrid’s         mark and Hylete’s       mark. Exs. 2; 3; 4; 5; 10. The TTAB’s decision is currently

on appeal before the Federal Circuit following Hylete’s failed Request for Reconsideration in

front of the TTAB. Exs. 11; 12; 13.

    III.      HYBRID’S CLAIMS ARE NOT BARRED BY THE DOCTRINE OF LACHES
              OR ANY STATUTE OF LIMITATIONS

           Hylete has been on notice of Hybrid’s intention to take the TTAB’s decision to district

court and seek to cease all use of the Hylete Marks. Hybrid’s intent has been forthright from the

start and is evidenced in Hylete’s own settlement offers. Dkt. 1 ¶¶ 95-96; Ex. 16. Hybrid even

elected to transfer Hylete’s Federal Circuit Appeal to the district court, but Hylete opposed such

transfer (again causing delay). Exs. 14; 15. Hybrid’s actions clearly show its intention to bring its

actions in district court.

           Hylete’s constant delays and refusals to participate throughout the TTAB proceeding and

the appeal of the TTAB decision led Hybrid to institute this District Court proceeding, even

before the final decision of the Federal Circuit has been issued. Hybrid is tired of Hylete’s

continued willful infringement. Thus, Hylete claiming that “Plaintiff did nothing to prevent

injury to it from the alleged infringing activities between April 2012…and Plaintiff’s filing of the

complaint,” is deceptive. Dkt. 20 p. 8.

           Hybrid brought this litigation without any delay or prejudice to Hylete. Hybrid therefore

requests that the Court deny Hylete’s Motion to Dismiss.

           Claims under the Lanham Act ring in equity, while CUTPA claims sound in law.

“[C]ourts assessing complaints that contain causes of action under both CUTPA and the Lanham

Act . . . conduct separate and independent analyses as to the statute of limitations (for the

CUTPA claims) and laches (for the Lanham Act claims).” CSL Silicones Inc. v. Midsun Group

Inc., 170 F. Supp. 3d 304, 316 (D. Conn. 2016).

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             a. Laches does not Bar Hybrid’s Lanham Act Claims

                    i. The Equitable Defense of Laches is Inappropriate for Resolution on a
                       Motion to Dismiss

       As an initial matter, dismissal based on laches at this stage of the litigation is not proper

because Hybrid’s Complaint alleges willful infringement, “a set of facts that, if true, would avoid

application of the laches defense altogether.” Societe des Bains de Mer et du Cercle des

Estrangers a Monaco v. MGM Mirage, No. 08-cv-03157 (HB), 2008 WL 4974800, *6 (S.D.N.Y.

Nov. 24, 2008) (denying motion to dismiss based on laches because plaintiff detailed willful and

intentional infringement in complaint) (citing Hermes Int'l v. Lederer de Paris Fifth Ave., Inc.,

219 F.3d 104, 107 (2d Cir. 2000)); Dkt. 1 ¶ 80. Hybrid should have the opportunity to prove its

willful infringement theories, thereby proving that laches is unavailable to Hylete. Moreover,

Hylete has not established that the undisputed facts support a finding of prejudice or undue

delay. For these reasons, Hylete’s motion to dismiss should be denied as unsupported and

premature.

                   ii. Laches is Unavailable to Hylete because of Its Unclean Hands as an
                       Intentional Infringer

       Hylete cannot evade liability for its infringement of the Hybrid Marks by hiding behind a

laches defense because it has willfully infringed the Hybrid Marks. Laches is an equitable

defense that is not available to defendants with unclean hands, which can be shown by

intentional infringement. Hermes Int’l v. Lederer de Paris Fifth Ave., Inc., 219 F.3d 104, 107

(2d Cir. 2000) (“[I]ntentional infringement is a dispositive, threshold inquiry that bars further

consideration of the laches defense ....”); Argus Research Group, Inc. v. Argus Media, Inc., 562

F. Supp. 2d 260, 273 (D. Conn. 2008) (“Th[e] good-faith component of the laches doctrine

denies the benefits of laches to any defendant that has intentionally infringed on the plaintiff’s

mark.”). Intentional infringement occurs when a junior user, with full knowledge of a prior user
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of a mark, attempts to capitalize on the prior user’s goodwill. Lang v. Retirement Living Pub.

Co., Inc., 949 F.2d 576, 583 (2d Cir. 1991).

       Here, Hylete adopted the Hylete Mark in view of the Hybrid Marks. Hylete continued to

use the infringing Hylete Marks despite Hybrid’s objections, and even after the TTAB found a

likelihood of confusion and denied Hylete’s Request for Reconsideration of the Board’s

decision. Exs. 10; 11; 12. Hylete was fully aware of the potential for confusion for years,

admitted to knowledge of instances of actual confusion, and yet continued to infringe. Dkt. 1

¶¶ 64-70; Dkt. 1 Ex. D; Ex. 1 p. 24. See Kiki Undies Corp. v. Promenade Hosiery Mills, Inc., 411

F.2d 1097, 1101 (2d Cir. 1969), cert denied 396 US 1054 (1970). Moreover, once the TTAB’s

decision finding a likelihood of confusion is upheld on appeal, it will have preclusive effects

before the district court since Hylete has already had a full opportunity to litigate its position. See

B&B Hardware, Inc. v. Hargis Industries, Inc., 135 S. Ct. 1293 (2015). Therefore, Hybrid’s

unclean hands bar the availability of laches as a threshold matter.

                  iii. Even if Latches is Considered, it Should Not Bar Hybrid’s Claims
                       Because Hybrid Did Not Delay in Taking Action Against Hylete’s Use
                       of the Hybrid Marks

       Hybrid did not delay in filing this action, and in fact, filed this action well within the

three year statute of limitations. The earliest time from which to measure for laches was in the

beginning of 2015 – after finally receiving knowledge of Hylete’s sales information. Ex. 18.

Additionally, in light of the proceedings between the parties before both the TTAB and Federal

Circuit (Hylete’s Federal Circuit Appeal is still ongoing), Hybrid filed this action because it is

tired of Hylete’s constant delays.




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                          1. The Time From Which to Measure Any Supposed Delay is
                             January 2015

       Hybrid’s first objection to the Hylete Marks in 2012 came before any sales were made by

Hylete and when the company was just forming. Dkt. 1, Ex. D; Ex. 1 pp. 23-24. Hybrid

requested that Hylete not use the Hylete Marks, and to Hybrid’s knowledge, no merchandise had

been manufactured or sold, at that point. Id. Hybrid is a small business and does not file such

actions without careful consideration. Such careful consideration is in fact encouraged by the

courts. See Cullman Ventures, Inc. v. Columbian Art Works, Inc., 717 F. Supp. 96, 126-7

(S.D.N.Y 1989) (a mark owner is not required to “fire both barrels of [its] shotgun instantly upon

spotting a possible infringer. Lawyers and lawsuits come high and a financial decision must be

made in every case” as to whether the cost of litigation is worth the gains); see also Tandy Corp.

v. Malone & Hyde, Inc., 769 F.2d 362, 366 (6th Cir. 1985), cert. denied 476 US 1158 (1986)(“a

reasonable businessman should be afforded some latitude to assess both the impact of another’s

use of an allegedly infringing trademark as well as the wisdom of pursuing litigation on the

issue.”). Hybrid did not know at that point if Hylete would make it any further and survive as a

company.

       It was not until later in 2013, when Hybrid discovered that Hylete started to sell clothing

under the Hylete Marks and that some customers had experienced confusion between the brands.

Dkt. 1 Ex. D; Ex. 1 pps.23-24. This minor activity does not count towards the period of laches.

See Covertech Fabricating, Inc. v. TVM Building Products, Inc., 855 F.3d 163, 175-6 (3d Cir.

2017)(“an owner’s claim does not ripen until the defendant’s infringement is sufficiently far-

reaching to create likelihood of confusion”); 6 McCarthy on Trademarks and Unfair Comp. §

31:19 (5th ed.)(“a period of low profile sales by a fledgling business should not be counted




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towards laches”). Hybrid’s requests to Hylete to use other marks fell on deaf ears. Ex. 1 pp.32,

49. Thereafter, Hybrid quickly acted and filed its Notice of Opposition. Dkt. 1 ¶¶ 62-64.

       Hybrid was not obligated to file any district court action until it was aware of Hylete’s

sales and able to foreseeable harm to its company, which at earliest was January 2015. Ex. 18. It

is apparent that Hylete’s constant delay tactics during the opposition proceeding were purposeful

to hide Hylete’s sales and business records. A trademark owner is not obligated to sue

immediately upon discovering a potentially infringing party. Rather, laches is measured from the

date upon which the infringing use was sufficient enough to impact the trademark owner because

“a plaintiff should not be obligated to sue until its right to protection has ripened such that

plaintiff knew or should have known, not simply that the defendant was using the potentially

offending mark, but that plaintiff had a provable infringement claim” (emphasis added).

ProFitness Physical Therapy Center v. Pro-Fit Orthopedic and Sports Physical Therapy P.C.,

314 F.3d 62, 70 (2d Cir. 2002); see also 6 McCarthy on Trademarks and Unfair Comp. § 31:19

(5th ed.) (“Laches is measured from the date when there was an infringing use sufficient to

require legal protest and possible lawsuit. In most cases, this requires legal action only when

defendant’s infringing acts significantly impact on plaintiff’s good will and business

reputation.”). Accordingly, the earliest laches period would have begun in January 2015, with the

present complaint being filed well before any laches take hold. Ex. 18.

                           2. Any Delay in Filing Suit is Excusable

       Moreover, even if Hybrid is found to be outside any latches period, any delay in filing

suit is excusable. The Second Circuit clearly held in Conopco that once the applicable statute of

limitations has passed, there exists only a presumption of laches that the plaintiff must rebut.

Conopco, Inc. v. Campbell Soup Co., 95 F.3d 187, 191 (2d Cir. 1996); see also Argus Research

Grp. Inc. v. Argus Media Inc., 562 F. Supp. 2d 260, 273 (D. Conn. 2008); Fed. Treasury Ent.
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Sojuzplodoimport v. Spirits Intern. BV, 809 F.3d 737, 745 (2d Cir. 2016). Rather than an outright

bar to relief, “plaintiff must show why the laches defense ought not be applied in this case.” Id.

A plaintiff can therefore overcome the presumption of laches by demonstrating that its delay was

excusable and there is no prejudice in bringing the action. See Santana Products, Inc. v. Bobrick

Washroom Equipment, Inc., 401 F.3d 123, 138-39 (3d Cir. 2005), cert denied 126 S.Ct. 734 (US

2005). Ultimately, a laches determination is within a trial court’s discretion and the court is not

bound to a statutory limit—the interests of equity and justice should prevail. Tri-Star Pictures,

Inv. v. Leisure Time Prods BV, 17 F.3d 38, 44 (2d Cir. 1994).

       Hybrid has diligently enforced the Hybrid Marks since first discovering Hylete’s

infringement and realizing that the Hylete Marks could potentially harm its business. Dkt. 1,

Ex. 5; Ex. 1 pp. 23-24. As Hybrid states in its Complaint and Hylete reiterates, Hybrid learned of

the inception of Hylete Marks in April 2012. Dkt. 20 p. 9; Dkt. 1 ¶ 61. However, it was not until

March 2013, when Hybrid was made aware of first sales by Hylete and the first voiced consumer

confusion. Dkt. 1, Ex. D. It was not until December 31, 2014 that, after months of delay by

Hylete during the TTAB proceeding, Hybrid discovered sales information. Ex. 18.

       Many courts have found that the filing of an opposition proceeding will toll the running

of laches, both because the defendant is placed on notice of the plaintiff’s objections and because

of the large weight given to a favorable USPTO judgment in subsequent infringement

proceedings. See 6 McCarthy on Trademarks and Unfair Comp. § 31:16 (5th ed.); see also

Citibank N.A. v. Citytrust, 644 F. Supp. 1011 (EDNY 1986); Fitzpatrick v. Sony-BMG Music

Entertainment, Inc., 86 USPQ2d 1216 (S.D.N.Y 2008). This is even more so now in view of the

Supreme Court’s recent holding in B&B Hardware, which found that issue preclusion attaches to

a TTAB’s determination of likelihood of confusion. B&B Hardware, Inc. v. Hargis Industries,



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Inc., 135 S.Ct. 1293 (2015). Hybrid’s successful opposition is “of enormous weight in any

subsequent infringement action” and “puts the defendant on notice that [Hybrid] also protests its

use of the confusingly similar mark.” Alfred Dunhill of London, Inc. v. Kasser Distillers Prods.

Corp., 350 F. Supp. 1341, 1366-67 (ED Pa. 1972), aff’d 480 F.2d 917 (3d Cir 1973); see also

Finance Co. v. BankAmerica Corp., 502 F. Supp. 593 (D.Md. 1980)(finding no laches defense

from a five-year delay in which plaintiff put defendant on notice of its impending suit to be filed

upon the resolution of plaintiff’s opposition proceeding against defendant’s trademark

application). Any delay as a result of this opposition proceeding would therefore be excusable.

       Hybrid also notes that the present suit would have been brought much sooner if not for

Hylete’s constant delay tactics—both at the TTAB and the Federal Circuit. Exs. 2; 3; 4; 5; 6; 8;

11; 12; 13; 16. Throughout the TTAB proceeding, Hylete intentionally withheld documents,

forcing Hybrid to file a Motion to Compel, which was subsequently granted. Exs. 2; 3.

Notwithstanding the Board order to answer Hybrid’s discovery responses and produce

documents, Hylete failed to respond and continued to engage in delay tactics, requiring Hybrid to

file a Motion for Sanctions, which the Board granted and estopped Hylete from bringing certain

evidence at trial. Exs. 4; 5. Hylete attempted to further delay proceedings by filing multiple

requests for Extension of Time Without Consent from Hybrid (in fact Hybrid was vehemently

against each extension request) that the Board ultimately denied. Exs. 6-9. Hylete has been a bad

faith actor and bad faith participant in the actions brought against it since 2013. It ignored

Hybrid’s initial objections, ignored the TTAB’s Orders to Compel documents and, even when

sanctioned, has continued to delay in every way available to it to avoid going to District Court.

       Upon the Board’s decision to sustain Hybrid’s opposition in December 2016, Hybrid

sought to bring the action to federal court seeking damages. However, Hylete delayed and filed a



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baseless Request for Reconsideration, which the Board properly denied. Exs. 11; 12.

Frustratingly for Hybrid, this added extensive amounts of time delays and allowed Hylete to

continue its infringing sales. The Board’s denial was followed by Hylete’s appeal to the Federal

Circuit on May 18, 2017, which Hybrid elected to be transferred to this Court, and which Hylete

then opposed. Exs. 13; 14; 15. Rather than allow Hylete to delay any longer, Hybrid filed this

action. Hylete continued to delay the inevitable in order to market and sell the goods bearing the

infringing Hylete Marks as along as it possibly could, all the while Hybrid has tried to push

through the legal system as quickly as possible.

       The facts that Hylete deceptively and egregiously omitted by alleging that “Plaintiff did

nothing” between 2012 and 2017, clearly demonstrates that laches is not appropriate in light of

the circumstances. Hybrid promptly filed an opposition proceeding with the TTAB upon

knowledge of the harmful sales of Hylete, which was subsequently granted. Hylete’s delays have

caused almost an extra 20 months to the time frame of the opposition proceedings. The 20

months of delays are explicitly set forth and explained in the chart below:

 Action                    Date Action Filed /Decided        Months of Delay       Exhibit
                                                             Caused by Hylete
 Hybrid’s Motion to        Filed: May 21, 2014               1.5                   Ex. 2
 Compel Discovery
 During TTAB               TTAB Granted: July 4, 2014                              Ex. 3
 Proceeding
 30 day period from        July 5, 2014-August 4, 2014       1
 Granted Motion to
 Compel for Hylete to
 Produce Documents
 (Hylete did not produce
 documents)
 Hybrid extends time to    August 5, 2014 –August 12, 2014   .4                    Ex. 16
 produce documents
 upon Hylete’s request
 for Settlement
 Conference
 (Hylete ultimately did
 not provide a date for
 the conference)

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 Hybrid’s Motion for       Filed: August 13, 2014             3                   Ex. 4
 Sanctions During
 TTAB Proceeding           TTAB Granted: November 18,                             Ex. 5
                           2014
 Hylete’s Motion to        Filed: January 2, 2015             2                   Ex. 6
 Extend Discovery
 Period without Consent    Hybrid Filed Opposition: January
                           22, 2015

                           Hybrid filed Motion for Summary
                           Judgement: March 2, 2015 and
                           proceedings were suspended
 Hylete’s Motion to        Filed: March 25, 2015              .25                 Ex. 8
 Extend Time to File
 Opposition Brief to       Hybrid filed its Opposition:
 Hybrid’s Motion for       March 27, 2015
 Summary Judgment
                           TTAB Denied Extension: March
                                                                                  Ex. 9
                           31, 2015
 Hylete’s Request to       December 15, 2015 –January 21,     1.25                Ex. 19
 extend time for           2016
 depositions
 TTAB Decision             TTAB Sustains Opposition:          3                   Ex. 10
 Sustained                 December 15, 2016
 Opposition/Hylete’s
 Request for               Hylete Filed Request for                               Ex.11
 Reconsideration/TTAB      Reconsideration: January 17,
 Denies Request            2017

                           TTAB Denies Request: March                             Ex. 12
                           16, 2017
 Time Hybrid had to        March 16, 2107 to May 18, 2017     2                   Ex. 13
 wait to see if Hylete
 would bring appeal to
 Federal Circuit or
 District Court
 Hybrid’s election to      Hybrid Filed Election: June 8,     5                   Ex. 14
 move appeal to District   2017
 Court Opposed by
 Hylete                    Hylete Opposed Election

                           Federal Circuit Decision:
                                                                                  Ex. 15
                           November 3, 2017
                                                            TOTAL                19.4 Months
       This is well over a year and a half of delays caused by Hylete. Hybrid should not be

penalized for Hylete’s delays and non-participation in the past proceedings. It is clear from over




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the year and a half of Hylete’s delays that Hybrid would have filed this District Court action

much earlier.

        Hybrid chose to first bring an opposition proceeding in which Hybrid sought to discover

Hylete’s sales (which Hylete withheld and delayed) and to eventually bring the favorable

decision to district court.   Hybrid has not sat on its rights, nor has it been untimely in bringing

the suit. It is Hylete that has created the delay. As such, the doctrine of laches does not apply to

the present action, as any delay was excusable due to prior pending proceedings and the

unwarranted delay instigated by Hylete.


                   iv. Hylete is Not Prejudiced By Any Alleged Delay

        Hylete is not prejudiced by any delay in initiating these proceedings. As previously

noted, the defense of laches requires that the defendant be unfairly prejudiced by plaintiff’s

action. Saratoga Vichy Spring Co., Inc. v. Lehman, 625 F.2d 1037, 1040 (2d Cir. 1980). The

facts clearly demonstrate that Hylete is not and will not be prejudiced if these proceedings

continue.

        Furthermore, Hylete is not prejudiced in any manner, as it has been fully aware of

Hybrid’s objections to the Hylete Marks. Dkt. 1, Ex. D; Exs. 1 p. 24; 14; 16. Hybrid has done

nothing but assert its rights from day one. Nevertheless, Hylete has continuously, knowingly, and

willfully infringed the Hybrid Marks. Dkt. 1 ¶¶ 70, 95-96; Ex. 1 p. 49. Hylete was fully aware

that Hybrid’s favorable TTAB decision would be used to bring an action in District Court. As

held by the United States Supreme Court, “[s]o long as the other ordinary elements of issue

preclusion are met, when the issues adjudicated by the TTAB are material the same as those

before a district court, issue preclusion should apply.” B&B Hardware, 135 S. Ct at 1293.

Furthermore, Hybrid would have been before the district court sooner, had Hylete not constantly

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delayed the prior proceedings, as described in detail below. It has been Hylete’s actions that

have constantly held-up, interfered, and delayed Hybrid’s enforcement for the last four years.

        As an initial matter, Hybrid again notes Hylete’s false statements in its Motion to

Dismiss, which omit undisputed facts in order to manipulate these proceedings, such as any

mention of Hybrid’s Opposition or that the appeal to such proceeding is still ongoing. In support

of Hylete’s baseless contention that it would be prejudiced by this action, Hylete misrepresents

the record by stating that “Plaintiff waited five years, watching as Hylete devoted more and more

resources to developing its branded products, and earning consumer goodwill.” Dkt. 20 17. This

statement is unsupported by anything in Hylete’s memorandum. This statement is further a

flagrant misrepresentation of the facts, as explained throughout this Opposition to Hylete’s

Motion. Hybrid notes that even if these statements were true, continued spending on a business

venture in much the same way as before does not necessarily establish prejudice. Prejudice is not

an automatic assumption because money was spent or investments were made. Gucci America,

Inc. v. Guess? Inc., 868 F. Supp. 2d 207, 244 (S.D.N.Y 2012). Simply put, more is needed than a

continuation of the business. Fourth Toro Family Ltd. Partnership v. PV Bakery, Inc., 88 F.

Supp. 2d 188, 198 (S.D.N.Y 2000); see also Warner-Lambert Co. v. Schick USA Inc., 935

F.Supp 130, 142 (D. Conn. 1996) (finding that continuously spending money to build a business

for 8 years is not enough to find prejudice without something more). As case law indicates, even

if Hylete somehow did not know that Hybrid objected, it could not claim that investing in the

business alone causes prejudice, without something more.

        First, the TTAB proceeding in 2013 served to place Hylete on notice of Hybrid’s strong

objections to the Hylete Marks. As previously explained, an opposition proceeding “puts the

defendant on notice that, at the least, the plaintiff is not going to ‘sleep on its rights,’ and



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indeed[-] goes even further and puts the defendant on notice that the opposer also protests its use

of the confusingly similar mark.” Dunhill, 350 F. Supp. at 1367. As such, Hylete has been fully

aware that Hybrid has objected to Hylete’s use of the Hylete Marks since at least the date of

Hybrid’s Notice of Opposition. Dkt. 1 ¶65. From then on, Hybrid has continued to enforce the

Hybrid Marks. Dkt. 1, Ex. D; Ex. 1 p.24; Exs. 14; 16. Contrary to Hylete’s claims that Hybrid

watched as Hylete invested into its brand, Hybrid actively objected to Hylete’s infringement.

Dkt. 1 ¶¶ 62-69. It is appalling that Hylete attempts to blame its own willful infringement on

Hybrid. Hybrid did not sit idly by, but did the exact opposite. Hylete continued to build its

business and intentionally chose to ignore Hybrid’s complaints or seriously participate in any

prior legal proceeding. Dkt 1 ¶¶ 95-96; Ex. 1 p.49. Hylete has built its brand on willful

infringement of the Hybrid Marks and is far from blameless. In fact, Hylete has played a game of

evasion and has thumbed its nose at any legal authority long enough.

       As such, Hylete’s intentional infringement of the Hybrid Marks counters any claim of

prejudice it might have. By continuing to use the Hylete Marks after the TTAB’s decision,

Hylete has intentionally infringed upon the Hybrid Marks. Dkt. 1 ¶¶ 70; 91. A defendant that

continues to use a trademark which was rejected by the USPTO on the grounds of likelihood of

confusion with a senior user’s mark may be found to intentionally infringe from the date of

rejection. See Kiki Undies Corp. v. Promenade Hosiery Mills, Inc., 411 F.2d 1097, 1101 (2d Cir.

1969), cert denied 396 US 1054 (1970). Hylete has admitted that customers approached it stating

that the Hylete Marks resembled the Hybrid Marks as early as March 2013. Dkt. 1, Ex. D; Ex. 1

p. 24. Since that time, many consumers have told Hybrid that it purchased Hylete’s goods

bearing the Hylete Marks thinking they were Hybrid’s or an affiliate thereof. Ex. 1 pp. 26-32.




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Hylete has been well aware of the Hybrid Marks and Hybrid’s objections to use but nevertheless

continues its course of use without a concern in the world.

        Hylete is not at all prejudiced. Laches does not apply.

            b. Hybrid’s CUTPA Claims Are Not Barred By the Statue of Limitations

        Hylete alleges that Hybrid’s CUTPA claims should be dismissed for substantially the

same reasons as the Lanham Act claims. Dkt. 20 p. 12. However, as discussed above, Hybrid

brought the CUTPA claims within the statue of limitations. See supra Section III.a.iii.1.

Accordingly, the CUTPA claims were filed within the statue of limitations, and therefore cannot

run afoul of the statute of limitations.

        Moreover, to the extent that the Court finds that Hybrid’s claims could have been brought

sooner, Hybrid notes that the statute of limitations would have been tolled during the pendency

of the TTAB proceeding. See supra Section III.a.iii.2. The more-than-timely filed TTAB

proceeding therefore precludes any application of the statute of limitations to the CUTPA claims.

Accordingly, Hylete’s motion to dismiss should be denied.

            c. Hybrid’s Unjust Enrichment Claims are Not Barred by Laches

        Hylete further attempts to dismiss Hybrid’s claims for unjust enrichment as being barred

by the statute of limitations as set forth in Conn. Gen. Stat. § 52-577 and the doctrine of laches.

Dkt. 20 p. 16. As explained above, Hybrid has diligently enforced its rights against Hylete and

Hylete has been clearly on notice of Hybrid’s objections to the Hylete Marks, as they were both

party to an opposition proceeding and Federal Circuit Appeal regarding these marks. See supra

Section III.a.iii. Moreover, Hylete is not prejudiced by Hybrid’s enforcement of its rights. See

supra Section II.a.iv.

        Additionally, Hybrid notes that claims for unjust enrichment are equitable in nature, and

therefore, will not be dismissed if doing so would be detrimental to justice. The equitable power

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of the Court permits it to be unbound by Section 52-577, in the interest of justice. Rossman v.

Morasco, 974 A.2d 1, 17 (Conn. App. 2009), cert. denied, 980 A.2d 912 (2009); see also Carney

v. Lopez, 933 F. Supp. 2d 365, 386 (D. Conn. 2013) (“unjust enrichment claim is equitable in

nature and thus, the court need not adhere to definitive statutes of limitation.”).

         As such, Hybrid requests that the Court deny Hylete’s Motion to Dismiss Hybrid’s unjust

enrichment claim.

   IV.      HYBRID SUFFICIENTLY PLED ITS CUTPA CLAIMS

         Hybrid’s CUPTA claim is sufficiently pled, contrary to Hylete’s allegation. Fed. R. Civ.

P. 9(b) requires allegations of fraud or mistake to state the particular circumstances of the harm.

The Second Circuit has held that in pleadings which allege fraud or mistake, the pleader must

allege (1) the time, place, and contents of the false representations, (2) the identity of the person

making the misrepresentations, (3) how the misrepresentations misled, (4) and what the person

misrepresenting gained from this fraud. See United States ex rel. Ladas v. Exelis, Inc., 824 F.3d

16, 25 (2d Cir. 2016); see also Shields v. Citytrust Bancorp., Inc., 25 F.3d 1124, 1128 (2d Cir.

1994); In re Trilegiant Corp. Inc., 11 F. Supp.3d 82 (D. Conn. 2014).

         Hybrid’s Complaint alleges all these elements. Hybrid alleges that Hylete (1) began to

use the infringing marks in 2012 in a way that was accessible to consumers of Connecticut and

the rest of the United States, (2) the identity of Hylete, (3) that the infringing marks created a

likelihood of confusion, as well as numerous instances of actual confusion, and (4) that Hylete is

unjustly enriched from its infringement. See Dkt. 1 ¶¶ 38-46, 49-50, 73-74, 77-78. Accordingly,

Hybrid has sufficiently pled its CUTPA claims.

         Hybrid therefore requests that the Court deny Hylete’s Motion to Dismiss Hybrid’s

CUPTA claim or in the alternative allow Hybrid to amend its pleadings.



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   V.      THE COURT SHOULD NOT TRANSFER VENUE AS HYLETE HAS
           COMPLETELY FAILED TO MEET ITS BURDEN TO SHOW TRANSFER IS
           WARRANTED

        In a motion to transfer venue, it is the defendant who carries the burden of showing that

transfer is warranted. See Panterra Engineering Plastics, Inc. v. Transportation SYS. Solutions,

LLC, 455 F. Supp. 2d 104, 114 (D.Conn 2006), referencing Ford Motor Co. v. Ryan, 182 F.2d

239 (2d Cir. 1950). In the present case, Hylete has failed to establish a convincing basis for

transfer to the Southern District of California. As such, Hybrid requests that the Court deny

Hylete’s change of venue request.

        As set forth, while the Court has broad discretion in deciding whether to transfer venue

and may consider the following factors, the majority of which favors Hybrid: (1) the plaintiff’s

choice of forum, (2) convenience of witnesses, (3) the location of relevant documents, (4) the

convenience of the parties, (5) locus of operative facts, (6) the location of unwilling witnesses,

(7) the relative means of the parties, (8) governing law, and lastly (9) trial efficiency and the

interests of justice. See D.H. Blair & Co. v. Gottdiener, 462 F.3d 95, 106-07 (2d Cir. 2006).

           a. Hybrid’s Choice of Forum is Given Significant Deference

        The Second Circuit gives the plaintiff’s choice of forum “significant deference.” Pollux

Holding Ltd. v. Chase Manhattan Bank, 329 F.3d 64, 70 (2d Cir. 2003). In fact, “unless the

balance is strongly in favor of the defendant, the plaintiff’s choice of forum should rarely be

disturbed.” This is particularly true in instances where the plaintiff sues in its home forum, as it

is presumed to be convenient. See Piper Aircraft Co. v. Reyno, 454 US 235 (1981). Hybrid is a

Connecticut company, having locations in Bridgeport and Stamford, with many of its witnesses

located here or substantially closer to Connecticut than California which makes Hybrid’s election

to file suit in Connecticut fair. As such, Hybrid’s choice of forum is reasonable and is deserving



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of the deference traditionally afforded to the plaintiff. This factor clearly weighs in favor of

Hybrid.

            b. Convenience of Parties and Witnesses Favors Hybrid

       The convenience of the parties and witnesses is an important consideration. In terms of

parties to the suit, transfer should not “shift the burden of inconvenience from one party to

another.” Hawley v. Accor North America, Inc., 552 F. Supp. 2d 256, 260 (D. Conn. 2008),

quoting Pitney Bowes, Inc. v. National Presort, Inc. 33 F. Supp. 2d 130, 132 (D. Conn. 1998).

Likewise, the location of witnesses is important but “is generally relevant only with respect to

third-party witnesses since employees of the parties will as a practical matter be available in any

venue by virtue of the employment relationship.” Hawley, 552 F. Supp. 2d at 260.

       Importantly, a motion to transfer venue under § 1404(a) “must be accompanied by an

affidavit containing detailed factual statements identifying the potential principal witnesses

expected to be called and a general statement of the substance of their testimony.... Absent such a

showing, the motion should be denied.” See American Eagle Outfitters, Inc. v. Tala Bros. Corp.

457 F. Supp. 2d 474, 478 (S.D.N.Y. 2006) (internal quotations omitted); see also Factors Etc.

Inc v. Pro Arts, Inc., 579 F.2d 215, 218 (2d. Cir 1978), cert. denied 440 US 908 (1979),

abrogated on other grounds by Pirone v. MacMillan, 894 F.2d 579 (2d Cir. 1990); Costello v.

Home Depot USA, Inc., 888 F. Supp. 2d 258, 267-8 (D. Conn. 2012) (“a party moving for

transfer on the ground of the convenience or availability of witnesses must specify the identity of

key witnesses and the nature of their likely testimony, and support these statements with

affidavits”). Hylete has failed to supply any affidavit, as such its request should be denied.

       Regardless, Hylete claims a transfer is warranted due to the location of Hylete and its

officers and employees. Dkt. 20 p. 20. However, Connecticut courts clearly indicate that the

location of employees of a party to litigation is not a relevant factor. Rather, the location of third-
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party witnesses is a relevant factor. It is foreseeable that Hybrid will have numerous third-party

witnesses to attest to the actual confusion caused by Hylete’s infringement, the majority of which

will be in Connecticut or other Northeastern states. Ex. 1 pp. 26-32. As such, a transfer of venue

would greatly inconvenience witnesses that are likely to be called in this case.

        This factor weighs in favor of remaining in Connecticut.

            c. Availability of Process to Compel Attendance of Unwilling Witnesses Favors
               Hybrid

        Hylete is again trying to twist details so that this factor is weighed in its favor. But in

reality, as both Hybrid and Hylete very well know, the ex-employees of JACO, the individuals at

JACO who managed Hybrid’s accounts, the individuals who solicited Hybrid, etc., are ALL the

same individuals and who are currently working at Hylete. Dkt. 1 ¶¶40-42; Ex. 1 pp. 22-24. As

the parties go through discovery, Hybrid may find a couple third party witnesses, but for Hylete

to make it sound like the Court will have to compel multiple witnesses is far-fetched.

        On the contrary, and as mentioned above, it is foreseeable that Hybrid will have many

third-party witnesses to testify about actual confusion who all reside in this District or areas

closer to this district than California. Ex. 1 pp. 26-32.

        As such this factor therefore warrants the case remain in this venue.

            d. Location of Relevant Documents Favors Hybrid

        In the modern age, the location of relevant documents is given little weight. The

invention of the internet, photocopying, and electronic storage capabilities “deprive this issue of

practical or legal weight.” Charter Oak Fire Ins. Co. v. Broan-Nutone, LLC, 294 F. Supp. 2d

218, 221 (D. Conn. 2003). Therefore, Hylete’s arguments are not compelling considering the

records are easily portable. In light of technological advances, this factor is not dispositive and

otherwise neutral.


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           e. Locus of Operative Fact Favors Hybrid

       The locus of operative fact is an important consideration and weighs in favor of Hybrid.

In trademark infringement and unfair competition actions, courts have found that “the locus of

operative facts [is] the initially chosen forum if acts of infringement, dilution, or unfair

competition occur in that forum.” ESPN, Inc. v. Quicksilver, Inc., 581 F. Supp. 2d 542, 549

(S.D.N.Y. 2008). To put more plainly, courts in the Second Circuit have found that “the locus of

operative facts weighs in favor of maintaining the original venue where the defendant sells the

allegedly infringing products in that forum.” American Eagle Outfitters, 457 F. Supp. 2d at 477

(internal quotation omitted).

       Hylete alleges that the locus of operative fact is in California, as that is where the

infringing goods were created and where Hylete’s business address is. Dkt. 20 p. 13. However,

that is not the test. Hylete’s goods bearing the infringing marks have been sold and shipped to

numerous Connecticut residents. Dkt. 1 ¶50; Ex. 1 pp. 25-26. Courts in this Circuit have found

that where goods bearing the infringing marks were developed, designed, or marketed is not

dispositive in determining the locus of operative fact. See It’s a 10, Inc. v. PH Beauty Labs, Inc.,

718 F. Supp. 2d 332, 337 (S.D.N.Y. 2010); Kiss My Face Corp. v. Bunting, 2003 WL 22244587

(S.D.N.Y. 2003). Even when the infringing goods are made and sold elsewhere, the defendant

may be subject to the forum in which it sells its product, even if the amount of products sold in

the district is relatively nominal. French Transit, Ltd. v. Modern Coupon Sys., Inc. 858 F. Supp.

22, 26 (S.D.N.Y. 1994). As such, if the defendant is selling the products in the district where the

suit was file, the original venue will be maintained. Zinky Electronics LLC v. Victoria Amplifier

Co., 2007 WL 2151178 (D. Conn. 2009); referencing American Eagle Outfitters, Inc. v. Tala

Bros. Corp., 457 F. Supp. 2d 474 (S.D.N.Y. 2006).



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        Additionally, Hylete’s activities in the State of Connecticut include the operation of an

interactive website in which customers can purchase Hylete goods, which are then shipped to the

state of Connecticut. Dkt. 1 ¶¶49-50. By doing business over the internet through a website that

is used by Connecticut residents, Hylete has clearly done business in the state of Connecticut.

See American Homecare Federation, Inc. v. Paragon Scientific Corp., 27 F. Supp. 2d 109, 113

(D. Conn. 1998), referencing CompuServe, Inc. v. Patterson, 89 F.2d 1257 (6th Cir. 1996).

Hylete has created contractual relationships with Connecticut residences through the ordering,

payment, and shipment of Hylete’s goods to purchasers in that state. See On-Line Techs v. Perkin

Elmer Corp., 141 F. Supp. 2d 246, 265 (D. Conn. 2001) (“At one end of the spectrum are cases

where individuals can directly interact with a company over their Internet site, download,

transmit or exchange information, and enter into contracts with the company via computer. In

such cases, the exercise of jurisdiction is appropriate, particularly when combined with evidence

of sales from the forum state.”).

        Hylete targeted Connecticut consumers through its website and sold and shipped its

goods to numerous Connecticut consumers, thereby creating a likelihood of confusion in the

District of Connecticut. Dkt. 1 ¶50. Still, further there have been instances of actual confusion in

Connecticut. As such, venue is proper in this District and this factor favors Hybrid.

            f. Trial Efficiency, Interests of Justice Favors Hybrid

        The interests of trial efficiency and justice indicate that a transfer of venue should be

denied. Hylete does not specifically address this factor, albeit because it does not favor

California as the proper venue. This Court is already dealing with Hylete’s Motion and is

familiar with the alleged claims, and thus, judicial economy is served by keeping the venue in

this District.



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              g. Relative Means of the Parties

        Hylete finds this factor neutral, however this factor weighs greatly in favor of Hybrid.

Though well-known in the fitness community, Hybrid is a small business. While both parties are

limited liability companies, the comparison of the businesses ends there especially when it comes

to size and monetary means. Hylete is projected to target millions of dollars in sales in 2018, see

https://invest.hylete.com/. Hybrid, through its owner and primary manager Mr. Orlando, works

at least 6 days a week maintaining two gyms, selling apparel and gym equipment, teaching and

attending events. Dkt. 1 ¶¶21-31. This is just another scenario of Hylete twisting facts for its own

benefit. Hylete would have the Court believe that Hybrid is a large scale multi-million dollar

business like itself, but that is simply not the case. Ex. 1 pp. 32, 49. Then to add insult to injury,

due to Hylete’s infringement of the Hybrid Marks, Hybrid’s apparel sales have decreased

significantly and Hybrid has had to allocate precious time and resources to stop Hylete, a

significantly larger company, from infringing its rights. Id.

        Hybrid has continuously and tirelessly been attempting to stop Hylete’s use of the

infringing marks since 2013 through an opposition proceeding, where numerous unnecessary

delays occurred due to Hylete’s unreasonable actions, a Federal Circuit Appeal (which is

ongoing), and now this District Court Action. Dkt. 1 ¶¶ 95-96; Exs. 2-15. Hybrid has continued

to fight for its brand and its business. The interests of justice strongly support remaining in the

District of Connecticut, rather than forcing a small business to litigate across the country. Hybrid

would be greatly inconvenienced by transfer to the Southern District of California and it would

be unjudicial to transfer venue solely for the convenience of Hylete.

        As such, Hybrid respectfully requests that the Court deny Hylete’s request for a venue

transfer.



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            h. Forum’s Familiarity with the Governing Law

         As discussed by Hylete, familiarity with the governing law as a factor in determining

transfer of venue is generally given little weight in federal courts. And courts in the District of

Connecticut are just as well versed in trademark law as those in the Southern District of

California. Additionally, Hybrid as asserted claims that arise under the laws of Connecticut,

which Hylete fails to take into consideration. Therefore, this factor does not warrant transfer of

venue.

         Upon analysis of all the factors, they either favor Hybrid or are neutral as to keeping this

case in the District of Connecticut. Therefore, venue should not be moved to the Southern

District of California.

   VI.      CONCLUSION

         For all of the arguments, evidence and information set forth above, Hybrid respectfully

requests that the Court deny Hylete’s Motion.



                                                       Respectfully Submitted,



Date: January 19, 2018                                 /s/ Michael J. Kosma
                                                       Michael J. Kosma, ct27906
                                                       Whitmyer IP Group LLC
                                                       600 Summer Street
                                                       Stamford, CT 06901
                                                       Tel: 203-703-0800
                                                       Fax: 203-703-0801
                                                       Email: litigation@whipgroup.com
                                                       mkosma@whipgroup.com
                                                       ATTORNEYS FOR PLAINTIFF




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